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IN THE UNITED STATES DISTRICT CoURT 2a
FoR THE wESTERN DISTRICT oF TE pg h:
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WILLIAM LYNN JOHNSON, SR.,
Plaintiff,

vs. No. 04-2933-D/An

MARK LUTTRELL, et al.,

Defendants.

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ORDER DENYING MOTION TO PROCEED lN FORMA PAUPERIS
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
ORDER ASSESSING APPELLATE FILING FEE
AND
ORDER REAFFIRMING PREVIOUS SANCTIONS

 

 

On November 16, 2004, plaintiff William Lynn Johnson, Sr.,
booking number 04107647, an inmate at the Shelby County Criminal
Justice Complex (Jail)l, filed this complaint under 42 U.S.C. §
1983, along with a motion to proceed in forma pauperis. Johnson
sued Shelby County Sheriff Mark Luttrell, Counselor Burns, unknown
National Association of the Advancement of Colored People (NAACP)
representatives, and unknown Shelby County Election Commission
representatives.

By order entered July 5, 2005, the Court dismissed plaintiff's

claims against John Doe defendants and denied his motion for class

certification. The Court denied Johnson's motion to proceed in

 

1 The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

Thls document entered on the docket sheet In compliance
with ama 5a and/or rs(a) FRcP on “/lo '

 

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fp;ma pauperis and directed Johnson to amend his complaint to file
an amended complaint within twenty (20) days of the entry of this
order, submitted in affidavit formq prepared. by' attaching the
attestation required by 28 U.S.C. § 1746, stating the following

information under penalty of perjury:

l. his date of birth;
2. all previous convictions;
3. all identifying prisoner numbers which have been assigned to

him, including but not limited to the identification number
for the Tennessee Offender Management System, his State
identification number, and his Bureau of Prisons registration
number; and
4. all previous lawsuits regarding Jail and prison conditions to
which he was a party.
Johnson filed his amended complaint in affidavit form on July
21, 2005. Johnson has now verified that he is “William Lynn
Johnson,” previously' incarcerated. as both a federal and as a

Tennessee state prisoner, who by November of 1996 had accumulated

a total of 29 lawsuits in the Western District of Tennessee.2

 

2 Johnson v. Luttrell, No. 96-3194-G/v (w.D. Tenn. Feb. 2,

1998)(dismissing Bivens claims ppg sponte as frivolous under 28 U.S.C. §
1915(e)(2)(B)(i) and entering judgment for defendants after non-jury trial on
claim under Federal Tort Claims Act);

Johnson.v. Hawk, No. 96-2568-G/A (W.D. Tenn. Nov. 18, 1996)(refusing
permission to file ip forma pauperis under 28 U.S.C. § 1915(9) and dismissing as
frivolous under 28 U.S.C. § 1915(e)(2)(B)(i));

Johnson v. Hurst, No. 93-2122-Ml/A (W.D. Tenn. Feb. 11,
l993)(dismissing as frivolous under 28 U.S.C. § 1915(d));

Johnson.v. Barr, No. 92-2978-4/A.(W.D. Tenn. Dec. 2, 1992)(dismissing
as frivolous under 28 U.S.C. § 1915(d));

Johnson v. Gilliam, No. 91~2382-H/B (w.D. Tenn. July 3,
1991)(granting defendants1 motion to dismiss or for summary judgment on Bivens
claim);

 

Johnson v. Gilliam, No. 91-2111-G/A (W.D. Tenn. Oct. 21,
1991)(granting defendants' motion for summary judgment on Bivens claim);

Johnson v. Ballin, No. 90-2302-Tu/B (W.D. Tenn. Mar. 19,
1991)(granting motion to dismiss by private attorney sued under section 1983);

Johnson v. Owens, No. 89-2622-G/B (W.D. Tenn. Oct. 10, 1989)(§§§

 

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sponte dismissal of section 1983 action seeking relief only available under
section 2255);

Johnson v. Lebcanc, No. 89-2589-G/A (W.D. Tenn. Oct. 4,
1989)(dismissal of a section 1983 action against the investigators and witnesses
in federal criminal prosecution, case number 89-20059-H);

Johnson v. Crabtree, No. 86-2587-H (W.D. Tenn. April 21, 1987)(§pa
sponte grant of summary judgment to defendants for failure to state a claim);

Johnson v. Chandler, No. 86-2535-G/B (W.D. Tenn. July 17, 1986)(§p§
sponte dismissal as frivolous under section 1915(d));

Johnson v. MacDonald, No. 85-3049-H/A (W.D. Tenn. Mar. 21,
1986}(granting defendant's motion for summary judgment);

Johnson v. Dutton, No. 84-2776-H/B (W.D. Tenn. June 13,
1986)(granting petition for writ of habeas corpus in state murder conviction);

Johnson v, Dutton, No. 84-2295-M/A (W.D. Tenn. Aug. 20,
1984)(dismissing petition for writ of habeas corpus);

Johnson v. Barksdale, No. 82-2533-H (W.D. Tenn. Nov. 24,
1982)(denying petition for writ of habeas corpus);

Johnson v. Barksdale, No. 82-2514-W (W.D. Tenn. May 28,
1985)(dismissing section 1983 case as barred by res judicata);

Johnson v. Barksdale, No. 82-2498-H (W.D. Tenn. July 23, 1982)(§pa
sponte dismissing section 1983 case);

Johnson v. Barksdale, No. 82-2407-M (W.D. Tenn. Aug. 15,
1985}(granting plaintiff's motion for injunction regarding telephone use in
county jail);

Johnson v. Barksdale, No. 82-2256 (w.D. Tenn. Nov. 19,
l984)(dismissing section 1983 property deprivation case);

Johnson v. Barksdale, No. 81-2961-W (W.D. Tenn. Jan. 28,
1985)(finding for defendants after' non-jury trial on section 1983 medical
treatment claims);

Johnson v. Barksdale, No. 81-2725-M (W.D. Tenn. Aug. 23l
1982)(dismissing section.1983 claims of retaliation for writ-writing activities);

Johnson v. Bark§dale, No. 81-2311~M (W.D. Tenn. Mar. 26,
1982)(dismissing after entry of consent decree settling section 1983 case);

Johnson v. Barksdale, No. 81-2202-M (W.D. Tenn. Aug. 15, 1985)(entry
of judgment awarding plaintiff damages);

Johnson v. Barksdale, No. 81-2187-H (W.D. Tenn. Mar. 30,
1981)(granting plaintiff's motion for voluntary dismissal);

Johnson v. Barksdale, No. 81-2023-Ml (W.D. Tenn. Aug. 27,
1992)(dismissing section 1983 claims and entering judgment for defendants after
non~jury trial);

Johnson v. Baucum, No. 80-2407-W (W.D. Tenn. Oct. 21,
l980)(dismissing section 1983 action);

Johnson v. Privett, No. 80-2048-W (W.D. Tenn. Jan. 18,
1980)(dismissing frivolous section 1983 action against private attorney
previously sued in case number 80-2020-W);

Johnson v. Weinman, No. 80-2020-W (w.D. Tenn. Jan. 18,
1980)(dismissing frivolous section 1983 action against state judge and private
attorney);

 

 

 

 

 

 

 

 

 

Johnson v. Maples, No. 79-2787-M (W.D. Tenn. Jan. 19,

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In Johnson v. Hawk, et al., No. 96-2568-G/A (W.D. Tenn. Nov.
18, 1996), the Court notified Johnson that he was no longer
eligible to file ip fp;ma pauperis actions and placed further
restrictions on his filing privileges. The Court's order
prohibited Johnson from filing further ip fp;mp pauperis actions in
this district without leave of court and directed the Clerk "not to
file, open on this Court's docket, assign a new docket number, or
assign to a judge, any further case whatsoever submitted by this
plaintiff unless specifically directed to do so by a district judge
or magistrate judge of this district.“ The order also admonished
Johnson that in the event he failed to abide by that order‘s
restrictions, "the Court will then impose further sanctions against
the plaintiff, including a further monetary fine, which may be
collected directly from his prison trust fund account."

Johnson attempted to circumvent the restrictions on his filing
privileges by checking "No" in response to the question, "[h]ave
you begun other lawsuits in state or federal court dealing with the
same facts involved in this action or otherwise relating to your
imprisonment?" In response to the request for information on other
lawsuits, Johnson wrote "N/A." Johnson's misrepresentation of his
litigation history resulted in the Clerk inadvertently accepting
this action for filing and assigning it a docket number without an
order from a district judge or magistrate judge of this district.

In accordance with the order entered November 18, 1996, unless

 

1982) (dismissing section 1983 action as barred by statute of limitations) .

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Johnson can demonstrate that he is now under imminent danger of
serious physical injury, he cannot proceed under § 1915(b).3

Johnson alleges that he was deprived of his right to vote by
absentee ballot during his incarceration at the Jail. He alleges
that he wrote defendant Luttrell on July 23, 2004, and
subsequently, Luttrell and Counselor Mickens came to his pod to
obtain. his signature on an absentee application ballot list.
Johnson alleges that on the day absentee ballot applications were
distributed by Counselor Burns, he was in Shelby County Criminal
Court. Although Counselor Burns advised another inmate that she
would return with Johnson's application, she did not do so until
one or two days before the deadline.

Johnson alleges that he made repeated requests to his pod
officer, Counselor Mickens and Officer Snowden to contact Counselor
Burns about his application. Another inmate was taken to a
designated area to vote by absentee ballot on October 26, 2004,
however plaintiff was advised to contact the Shelby County Election
Commission. Johnson also alleges that he did not file a grievance
on this matter because this problem was “not a jail complaint

issue.”

 

3 The threshold requirement for a prisoner seeking to demonstrate that

he is exempt from § 1915(g) restrictions is an allegation of "imminent danger of
serious physical harm." Gibbs v. Roman, 116 F.3d 83, 86 (3d Cir. 1997). §pp
Pigg v. Federal Bureau of Investigation, 106 F.3d 1497, 1497 (10th Cir. 1997);
Adepegba, 103 F.3d 383, 385 (5th Cir. 1996); Abdul-Wadood v. Nathan, 91 F.3d
1023, 1025 {7th Cir. 1996). The Court will focus on the imminence of the danger
"at the time of the alleged incident, and not at the time the complaint was
filed." Gibbs, 116 F.Bd at 83.

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Plaintiff's allegations clearly fail to demonstrate that he is
presently at risk or “in imminent danger of serious physical injury
(describing in detail the nature of the danger, why it is imminent,
and the nature of the serious physical injury).” Accordingly the
motion to proceed ip ipipp pauperis is DENIED.

However, the Court declines to dismiss the case with prejudice
under 28 U.S.C. § 1915(g). If Johnson had prepaid the full filing
fee despite the lack of allegations of serious injury, this
complaint would still be dismissed under 42 U.S.C. § 1997e(a), as
he brings this prison conditions claim without demonstrating that
he has exhausted his administrative remedies. Brown v. Toombs, 139
F.3d 1102 (Gth Cir. 1998).

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires
a federal court to dismiss without prejudice whenever a prisoner
brings a prison conditions claim without demonstrating that he has
exhausted his administrative remedies. Brown v. Toombs, id..;
Lavista v. Beeler, 195 F.3d 254 (6th Cir. 1999) (exhaustion
requirement applies to claim alleging denial of medical care).
This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of
claims. Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

In order to comply with the mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding
and its outcome.

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Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486

 

(6th Cir. 2002)(prisoner who fails to adequately allege exhaustion
may not amend his complaint to avoid a sua sponte dismissal);
Curry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001)(no abuse of
discretion for district court to dismiss for failure to exhaust
when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion).
Furthermore, § 1997(e) requires the prisoner to exhaust his
administrative remedies prior to filing suit and, therefore, he
cannot exhaust these remedies during the pendency of the action.
Freeman v. Francis, 196 F.Bd 641, 645 (6th Cir. 1999).

This complaint is fully within the scope of § 1997e.
Plaintiff's inability to obtain an application for an absentee
ballot in a timely manner is a “prison conditions claim.” Although
Johnson states that he “made repeated requests to Pod Officer Ms.
Long, Counselor Mickens, and Officer Ms. Snowden to contact
Defendant Burns for the absentee ballot application from September
22, 2004 thru the one or two day deadline date,” he chose not to
utilize the available Jail grievance procedure.

Plaintiff’s allegations are clearly insufficient to satisfy
the exhaustion requirements of § 1997e(e).4 The Sixth Circuit has

held that "[a] plaintiff who fails to allege exhaustion of

 

4 An inmate can exhaust administrative remedies in two ways. He might

file the grievance and then appeal it through all administrative levels made
available by the particular institution or government agency. Alternatively, he
might attempt in good faith to follow the procedure and demonstrate that the
institution or agency has completely frustrated the procedure and rendered
further exhaustion efforts futile.

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administrative remedies through.lparticularized averments' does not
state a claim on which relief may be granted, and his complaint
must be dismissed sua sponte." Baxter, 305 F.3d at 489. As
plaintiff has not demonstrated that he exhausted his administrative
remedies, the Court dismisses this complaint without prejudice
under 42 U.S.C. § 1997e(a). Plaintiff is, however, liable to the
Court for the full $150.00 filing fee.§'

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip ip;pp pauperis. Twenty-eight
U.S.C. § l915(a)(3) provides that an appeal may not be taken ip
ipppp pauperis if the trial court certifies in writing that it is
not taken in good faith. Under 28 U.S.C. § 1915(b), a prisoner
plaintiff must pay the entire $255 filing fee required by 28 U.S.C.
§§ 1913 and 1917.6 ip fp;pp pauperis status merely grants him the

right to pay the fee in installments.

 

5 This obligation to pay the entire filing fee accrued at the moment

plaintiff filed the complaint with the Court. which, in this case, was the moment
he deposited his complaint in the prison mail system. Plaintiff cannot avoid
this obligation because the case is dismissed as frivolous. Furthermore, this
fee shall be assessed against plaintiff's account at the prison without regard
to other obligations whenever there is any money in his account. Plaintiff filed
this complaint on November 16, 2004. Effective February 7, 2005, the civil
filing fee was increased to $250. Because this action was filed prior to that
date, the plaintiff is only liable for the $150 filing fee.

5 The fee for docketing an appeal is $250. §pp Judicial Conference
Schedule of Fees, j 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal, or of a writ of certiorari,
$5 shall be paid to the clerk of the district court, by the
appellant or petitioner.

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In McGore v. Wrigqlesworth, 114 F.3d 601, 610-ll (6th Cir.
1997), the United States Court of Appeals for the Sixth Circuit
construed § 1915(b) as requiring a prisoner to pay the entire
appellate filing fee in installments even. if the trial court
certifies that the appeal is not taken in good faith. McGore,

however, did not address appeals by prisoners who are barred from

 

proceeding ip forma pauperis by 28 U.S.C. § 1915(g).7 That section
nullifies the installment-payment privileges created by § 1915(b).

As required by McGore, the Court considers whether this appeal

 

may' be taken in good faith. The good faith standard is an
objective one. Coppedqe in United States, 369 U.S. 438, 445
(1962). Under Brown v. Toombs, an appellate court must dismiss a

complaint if a prisoner has failed to comply with 1997e's
exhaustion requirements. Accordingly, if a district court
determines that a complaint must be dismissed as unexhausted, the
plaintiff would not yet be able to present an issue in good faith
on appeal because that appeal would also be subject to immediate
dismissal. Thus, the same considerations that lead the Court to
dismiss this case for failure to exhaust administrative remedies
compel the conclusion that an appeal would not be taken in good
faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good

faith, and plaintiff may not proceed on appeal ip forma pauperis.

 

See supra note 2.

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This is the thirtieth dismissal of one of plaintiff's cases;
more than half of those cases were summarily dismissed as frivolous
cases or failure to state a claim. Twenty-eight U.S.C. § 1915(g)
bars Johnson from taking an appeal under § 1915(b). Green v.
NO’ttingham, 90 F.3d 415, 417 (lOth Cir. 1996) .

Accordingly, if plaintiff files a notice of appeal, the Clerk
is ORDERED to assess and collect the entire fee of $255 from his
prison trust fund account whenever funds are in the account,
without regard to the installment payment provisions of § 1915(b).
Furthermore, if plaintiff files a notice of appeal, he must pay the
entire fee within thirty days of filing that notice. If he does
not, this Court will notify the United States Court of Appeals for
the Sixth. Circuit that he has failed to comply' with the fee
requirements, and that Court will dismiss his appeal. lt will not
be reinstated thereafter even if he does pay the filing fee. Qii
McGore, 114 F.3d at 609-10.

Finally, regarding the imposition of sanctions, the Court
reaffirms the previous sanctions orders entered in Johnson v. Hawk,
NO. 96-2568-G/A (W.D. Tenn. 1996). The Clerk Of Court is ORDEREDl
not to file, open on this Court's docket, assign a new docket
number, or assign.to a judge, any further case whatsoever submitted
by this plaintiff unless specifically directed to ck) so by a
district judge or magistrate judge of this district. Compliance
with that order is a condition to filing any case in this Court.
Plaintiff is again ADMONISHED that a monetary fine will be imposed

if plaintiff files further documents without leave of court and

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which are not in compliance with the Court's order. Furthermore,

any case submitted by this plaintiff to any other court that is
thereafter transferred or removed to this district court will
result in the same sanctions.

Plaintiff is ORDERED not to file any further documents in this

actions except a notice of appeal. The Clerk shall not accept any

other documents for filing in this action. Any other documents

submitted by plaintiff shall be returned to him by the Clerk.

IT IS SO ORDERED this ['*#` day of August, 2005.

BERNICE B. ALD
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02933 Was distributed by fax, mail, or direct printing on
August 16, 2005 to the parties listed.

 

William Lynn Johnson
SHELBY COUNTY JAIL
04107647

201 Poplar Ave.

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

